Case 1:10-cr-00317-REB Document 735-3 Filed 01/17/14 USDC Colorado Page 1 of 5

“

NOTICE OF AND RESCISSION OF
NOTICE OF CLAIMS FOR CAUSE
NOTICE DATE: Day Fourteen Month One Year 2014 C.E.

Clerk of the Court

United States District Court
901 19th Street, Room A-105

Denver, Colorado 80294-3589

In reply to: "Case 1:10-cr-00317-REB Document 178 Filed 03/29/11 USDC Colorado Page 1

of 4 27th day of March, 2011 Richard Kellogg Armstrong, Page 2 of 4 Case 1:10-cr-00317-REB
Document 155 Filed 03/01/11 USDC Colorado Page 1 of 1 25th day of March, 2011 Richard
Kellogg Armstrong, Page 3 of 4 Case Name: UNITED STATES OF AMERICA v. RICHARD KELLOGG
ARMSTRONG Case Number: 10-CR-00317-REB 27th day of March 2011 Richard Kellogg Armstrong,
Page 4 of 4"

PLEASE TAKE NOTICE that I, Richard Kellogg Armstrong, sentient moral being rescind my
signature and the original "Case 1:10-cr-00317-REB Document 178 Filed 03/29/11 USDC
Colorado Page 1 of 4 27th day of March, 2011 Richard Kellogg Armstrong, Page 2 of 4 Case
1:10-cr-00317-REB Document 155 Filed 03/01/11 USDC Colorado Page 1 of 1 25th day of March
2011 Richard Kellogg Armstrong, Page 3 of 4 Case Name: UNITED STATES OF AMERICA v.
RICHARD KELLOGG ARMSTRONG Case Number: 10-CR-00317-REB 27th day of March 2011 Richard
Kellogg Armstrong, Page 4 of 4" including every copy bearing my signature and date, for
cause. I made a mistake creating, signing and presenting the NOTICE OF CLAIMS. I repent
of my sin.

I willingly, knowingly, voluntarily, intentionally and intelligently perform this act and
deed.

Linyy son, if you become surety for your friend, if you have shaken hands in a pledge for a stranger", 2"You
are snared by the words of you mouth; you are taken by the words of your mouth." 3"So do this, my son, and
geliver yourself; for you have come into the hand of your friend; go humble yourself; plead with your friend."

"Give no sleep to your eyes, nor slumber to your eyelids." -"Deliver yourself like a gazelle from the hand of
the hunter, and like a bird from the hand of the fowler."

I RESERVE ALL OF MY RIGHTS WITH EXPLICIT RESERVATION AND WITHOUT PREJUDICE.

FILED

UNITED STATES DISTRICT COURT Sincerely =
ER, COLORAD -,
Verba Leblayg CEA
JAN 1 7 2014 Richard Kellogg Armstrong
c/o 20413~298
JEFFREY P. COLWELL Federal Correctional
CLERK Institution - Lompoc

3600 Guard Road
Lompoc, California

 

Footnotes: lproverbs 6:1, *Proverbs 6:2, 3Proverbs 6:3, 4Proverbs 6:4, “Proverbs 6:5
Attachment: "supra"

cc: UNITED STATES DISTRICT COURT 901 19th Street Denver, Colorado 80294
cc: Honorable Robert Blackburn, Judge, United States District Court 901 19th Street Denver, Colorado 80294

Page 1 of 2
Case 1:10-cr-00317-REB Document 735-3 Filed 01/17/14 USDC Colorado Page 2 of 5

- Case 1:10-cr-00317-REB Document 178 Filed 03/29/11 USDC Colorado Page 1 of 4

 

TO: UNTIED STATES DISTRICT COURT - DISTRICT OF COLORADO os
ATTN: Clerk of the Court-- et. al; FEDERAL CORPORATION Title 28 U.S.C. 3002(15y- 7 mo
C/O U.S. Pos@& Service Address: Constitutional Township-- Republic op ..
901 NINETRENTH STREET (80294-3589] DENVER, COLORADO ff te 22 . re
Che SP pe
inre: UNITED STATES OF AMERICA V. RICHARD KELLOGG ARMSTRONG, Incorporate Case #: 10-cf00327-REB
cee. CK
From: , a living, breathing, liable flesh-and-blldd. man Sui-Juris (arid-not pro-se)
ee YL
Subject: Please firmly find attached copy of this documen Poc. #: 155") is hereby béing returned unto this agency--

  
 
   
  

as the eo not oppose my petition seek igmissal of the indictment with prejudice.
W .

* * * Notice tobe Agent is Notice to the Principal and Notice t the Principal is Notice to the Age
That !, Richard Kellogg Arr#gong, proceeding Sui-Juris and no’
making a plea of: *...Tha in bar corman non-judice" un

offer to contract. , That go hereby find the court's order to be i
orders issued on March 1, S they relate to ("Doc. #: 155"), and the "plaintiff" shall be estoppel by silence.

Notice of Cla $ V\

1. That | have demgnstrated that this court and its public se ck subject matter and persona juris@ictid\ herein
the case at the bar; _ .

2. As such, these ov proceeding in violation of the(\
America's Constitution UY Honorable Bill of Rights 1791;

  

 
   
   
  
  

3. These officers of the court proceeding under the “color
act;

   
 
  
  

5. This court issed an “¢ ORDER" unto the plaintiff to
writing, that | have recieved ni onse from the plaintiff.

‘
ath of Office’, and in violation of the unit es of
" Dut without actual authority, have comng¥tted ab ‘ultra vires
4, That | do not accep ffer to contract, and | find Your esentment to be prejudicial, and it is fag these rdasons that
any orders issued by this cou “illegal and void") on their face, for being unconscionable; NX
hd by aday certain (being March 14th 2011) as e the Time of this
*% Claims For Reli
Wherefore, this court is hereby instructed to immediately e

prejudice, and that | am to be immediately released unconditio yh The officers of this court have commi fraud upon the
court with this unlawful that ih and through, its representatives false, fraudulent, and erroneous claims.
I

 
 
  

   

attempt to continue and that wi requiring this court and its\okf{ders to immediately make disclosure of their
“proof of claims”. These officel’s ar@@to cease and desist with a

e

SEE-- Attached Exhibit: ffidaivt of Proof of Service iq
. A
. SY

Done under necessity-- Signed & Dated on this 27th dayof March 20 Zl.

    

lable upon written request). .

Without prejudice UCC 1-103 & 1-308 All Inalienable Rights Reserved

Isf . flesh and blood man-- Sui-Juris (and not pro-se),
Richard Kellogg Armstrotig Futly Authoriz resentative [Agent] Attorney In Fact in the interest
of: RICHARD KELLOGG ARMSTRONG, debtor's estate.
Case 1:10-cr-00317-REB Document 735-3 Filed 01/17/14 USDC Colorado Page 3 of 5

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Case 1:10-cr-00317-REB Document 155 Filed 03/01/11 USDC Colorado Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO.
Judge Robert E. Blackburn

Crimin No. 10-cr-00317-REB-02

UNITE TES OF AMERICA, K .

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MINUTE ORDER’
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By March 14, 2011, the governmentshalNile defendant's Notic

 

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To The Unitéd States District Court Tha N- ‘strates and es
Listed Agents and Agencies as Defend ~wsuit GB-

11010 091410000134484684 Are Violatiorgof

ce ai 4 Guarantee of a eN k\
Cases, 0317-REB and 10-cv- “ ‘

Febritpy 872011.

 
  

v" 1, 2011

 

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"This minute u ~
Blackburn, United States
Case 1:10-cr-00317-REB Document 735-3 Filed 01/17/14 USDC Colorado Page 4 of 5

" Case 1:10-cr-00317-REB Document 178 Filed 03/29/11 USDC Colorado Page 3 of 4

Case Name(du3 Sas ousting vidas keira percrep nc Case Number: 22 ~2:2~0051°2 ~tizp

.° AFFIDAVIT OF SERVICE .
(Must be returned to Court) : .

 

  
  
    
   
  
   

trong, does hereby declare, and certifies under the penalty of perjury-- as the Almighty God
ntment represents the truth, the whole truth, and nothing but the truth so help me god, to the best

belief, that | deposited into the institutional mail, to be deposited into the-- U.S. Postal Service by
Miday of March 2011, proper postage pre-paid to the address(es), shown on the other side-----

That I, Rica
as my Witness, thing
best of my knowledg

 

{X] Sent By... Fighiass Mail THE UNITED STATES SUPREM RT Hornorable: John Roberts

The address( oa ); At the time of the execution of

notary wasn't ava pon notary services a copy may be obt obtained THE UNITED STATES SUPREME VV

request. Notary s be completed as soon as possible.
under necessity-- Signed & Dated on 27th day of March 2011

 
 
      

   

   
 
  
 

A 7
Done under necessity-- Signed & Dated on this dayof March 20//. \

Nagnou: prejudice UCC 1-103 & 1-308 Al
Zz

Cs, La tees, flesh and blood man-- Sui-Juris (and olf
ey Richard Kellogg idetNtapresentative [Agent] Attorney In Fact in theinter:

of: IJCHARD KELLOGG ARMSTRONG, debtc? estate. Y\

Fee $__ AN _ _____ Mileage $ _. ef \, _
Ww ee
N a _ “\ (Name (Print or type)

Subscribed tC affirmed, or swom ‘to before me R the County of _

iénable Rights Reserved

 

 

 

 

 

 

 

 

 

 

 

; this day of__-_\ , 20
AN

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Notary Public.

 
 

 

 

 

AND ety fon ont (date) SGMORESS TONG sot — I mailed a true and correct copy of the MOTION
to the Defendant(s) at the address(es) listed above, "OY Placing it in the United States Mail, Postage pre-paid

 

Cletk of Court/Deputy Clerk
Case 1:10-cr-00317-REB Document 735-3 Filed 01/17/14 USDC Colorado Page 5of5

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MAR 29 2011
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GREGORY C LANGHAM

 

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Case 1:10-cr-00317-REB Document 178 Filed 03/29/11 USR<¢
